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Plaintiff’s Exhibit 41
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                                                                             110
  1       you were investing more money into GameStop,

  2       correct?

  3               A.        I have invested since 2019 more

  4       money into GameStop.              And I've never sold any

  5       GameStop shares to date.

  6               Q.        And you've never shorted any

  7       GameStop shares?

  8               A.        No.

  9               Q.        Not even one?

 10               A.        Not that I believe.

 11               Q.        Okay.      Mr. Cohen, you don't like

 12       short sellers, right?

 13               A.        Correct.

 14               Q.        And I believe that you had sent

 15       out a tweet on May 15th 2022 saying that

 16       taxpayer money should be spent cracking down

 17       on hedge funds and short sellers; isn't that

 18       right?

 19               A.        Yes.

 20               Q.        Why did you -- did you delete

 21       that tweet?

 22               A.        I don't think so.

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                                                                                111
  1               Q.        So you don't believe that you

  2       deleted it?

  3               A.        I don't know.           Can you show me

  4       the tweet?

  5               Q.        Well, I -- I cannot, because I --

  6       I couldn't find it.             It's not there on your

  7       page anymore.

  8               A.        So then it was deleted.

  9               Q.        Do you remember why you deleted

 10       it?

 11                         MR. FARINA:          Objection, form.

 12                         THE WITNESS:           No, I don't

 13               remember.

 14                         BY MR. JAFRI:

 15               Q.        Well, let me -- let me back up a

 16       little bit.

 17                         Did you delete the tweet?

 18               A.        I have made multiple tweets and

 19       comments about the fact that I do not like

 20       both hedge funds and short sellers.

 21               Q.        What is the reason for that?                  Why

 22       don't you like them?

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                                                                              112
  1               A.        I think it's unAmerican to bet

  2       on -- and to profit on someone else's

  3       failure.       It's one thing not to invest in

  4       someone's success.             It's another thing to

  5       profit on someone's failure.                   And I think

  6       it's unAmerican.           And it's legal and they're

  7       entitled to it, but I don't like them.

  8               Q.        What do you mean by unAmerican?

  9               A.        I mean that's my opinion.              I

 10       don't feel as though people should profit

 11       on -- and bet that someone is going to fail

 12       and then employ tactics in order to increase

 13       the odds that they're going to be -- that

 14       they'll end up failing.                And that's what a

 15       lot of these hedge fund short sellers do.

 16               Q.        Why do you feel so strongly about

 17       the fact that they're unAmerican when you're

 18       not an American citizen?

 19                         MR. FARINA:          Objection, form.

 20                         THE WITNESS:           It's not about

 21               being a citizen.            Being unAmerican

 22               doesn't mean about whether -- has

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                                                                                113
  1               anything to do with citizenship or

  2               not.

  3                         BY MR. JAFRI:

  4               Q.        So then --

  5               A.        It has to do with innovation and

  6       entrepreneurism and the fact that this is the

  7       greatest country in the world.                     Less than

  8       5 percent of the population has 25 percent in

  9       GEP.     So much innovation has come out of

 10       America, companies like Apple and Amazon and

 11       Chewy.       And so for someone to go and bet

 12       against entrepreneurship, in my opinion, is

 13       unAmerican.

 14               Q.        Okay.      So let me just get this

 15       straight.        You don't like short sellers and

 16       you want the government to crack down on

 17       them.        But you allowed your lawyers in this

 18       case to make filings saying that retail

 19       investors were crooked manipulators because

 20       they were trying to bet against the shorts?

 21                         MR. FARINA:          Objection, form.

 22                         THE WITNESS:           I don't know what

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                                                                                114
  1               my lawyers said.            What I'd say with

  2               respect to hedge fund short sellers is

  3               I find it ironic that if you have a

  4               large position, you disclose that long

  5               position.        But if you short that

  6               position, there's not the same kind of

  7               disclosure requirements.

  8                         So I believe there should be

  9               more transparency with respect to

 10               short sellers.

 11                         BY MR. JAFRI:

 12               Q.        But you said more than that.                  You

 13       said short sellers are against

 14       entrepreneurship and are unAmerican, right?

 15               A.        Yes.

 16               Q.        Okay.      So it's just not about the

 17       disclosures.         It's more than that, right?

 18               A.        Yes.

 19               Q.        Okay.      So I'm going to go back to

 20       my question about your filings in this case.

 21                         Are you aware that there is a

 22       motion for class certification that's pending

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                                                                             115
  1       in this case?

  2               A.        Yes.

  3               Q.        Do you understand what that is?

  4                         MR. FARINA:          Objection, form.

  5               I don't think he can have an

  6               understanding, other than what he

  7               obtained from counsel.

  8                         MR. JAFRI:         It's a public

  9               document.        He can have an

 10               understanding of a public document.

 11                         BY MR. JAFRI:

 12               Q.        Mr. -- Mr. Cohen, unless

 13       Mr. Farina tells you not to address my

 14       question, you have to address my question.

 15                         Would you like me to repeat it?

 16                         MR. FARINA:          Well, if you can

 17               address the question without anything

 18               that you learned from your lawyer.

 19                         Why don't you go ahead and

 20               repeat the question.

 21                         MR. JAFRI:         I'll rephrase.

 22


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                                                                              116
  1                         BY MR. JAFRI:

  2               Q.        Have you read the motion for

  3       class certification that was filed in this

  4       case?

  5                         MR. FARINA:          The motion?

  6                         MR. JAFRI:         Yeah.

  7                         THE WITNESS:           Not the full

  8               thing.     Parts of it.

  9                         BY MR. JAFRI:

 10               Q.        Parts of it, okay.

 11                         You know that your lawyers have

 12       opposed that motion, right?

 13               A.        I believe so.

 14               Q.        Did you read that motion?                Sorry.

 15                         Did you read that opposition they

 16       filed?

 17               A.        Not the full thing.

 18               Q.        What do you mean by not the full

 19       thing?

 20               A.        I didn't read the full thing.

 21               Q.        So how much of it did you read?

 22               A.        I don't remember.                I relied on

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                                                                             117
  1       them to have all the facts and put together a

  2       good case.

  3               Q.        Okay.      Do you know that one of

  4       the principal arguments that they have in

  5       terms of opposing certification in this case

  6       is that the company shares couldn't be

  7       shorted enough?

  8                         MR. FARINA:          Objection, form.

  9                         THE WITNESS:           I don't

 10               understand what that means.

 11                         BY MR. JAFRI:

 12               Q.        I'll -- I'll rephrase.

 13                         One of the things that they have

 14       said in the motion -- in the -- in the papers

 15       is that there was a very high short

 16       utilization rate.

 17                         Are you aware of that?

 18               A.        No, I'm not aware of that.

 19               Q.        Okay.      Are you aware of the fact

 20       that they have argued on your behalf that the

 21       fact that people couldn't short GameStop

 22       stock enough meant that the market for the

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                                                                              118
  1        stock was inefficient?

  2               A.        We're talking about GameStop or

  3        Bed Bath & Beyond?

  4               Q.        Bed Bath & Beyond.               That's what I

  5        meant.      Sorry.

  6               A.        Can you repeat your question?

  7               Q.        Yeah.      Sure.       My question was,

  8        are you aware of the fact that the -- your

  9        attorneys, in your name, have argued that the

 10        fact that people couldn't short BBBY stock

 11        enough meant that the market for that stock

 12        was inefficient?

 13               A.        I'm aware that they --

 14                         MR. FARINA:          Sorry.       I don't --

 15               I don't know how he's going to be able

 16               to answer this question without

 17               disclosing information that we told

 18               him.

 19                         MR. JAFRI:         Well, he -- he said

 20               he read the papers.

 21                         MR. FARINA:          Well, no, he

 22               didn't, actually.            He said -- and --

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                                                                              119
  1               and he's -- he's told you he did not

  2               read all of it.           He said he read some

  3               of it.

  4                         MR. JAFRI:         Well, maybe this

  5               was some of it, as --

  6                         MR. FARINA:          Okay.

  7                         MR. JAFRI:         Are you telling him

  8               not to answer?

  9                         MR. FARINA:          I'm -- I'm -- I'm

 10               telling him -- I'm not telling him not

 11               to answer.        I'm telling him if he

 12               answers, he should not be disclosing

 13               information that came from his

 14               lawyers.

 15                         MR. JAFRI:         Sure.         And I'm not

 16               interested in that.

 17                         BY MR. JAFRI:

 18               Q.        To the extent that you had any

 19        conversations with them, I'm -- I don't care

 20        about those.        You don't have to disclose

 21        those to me.        I'm just talking more of your

 22        general knowledge --

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                                                                              120
  1               A.        I'm not familiar with that part.

  2               Q.        Okay.      So you're not familiar

  3        with that part.          Okay.

  4                         One thing I wanted to know,

  5        Mr. Cohen, is you know that the -- the --

  6        the -- so I wanted to go back to one thing

  7        on -- about GameStop.

  8                         You believe that the people who

  9        were shorting that stock were -- were wrong,

 10        right?

 11                         MR. FARINA:          Objection, form.

 12                         THE WITNESS:           No, I don't know.

 13               I said we'll see what happens at the

 14               company.

 15                         BY MR. JAFRI:

 16               Q.        No.     No.     But that wasn't my

 17        question.

 18                         My question is, you had long

 19        position, right?

 20               A.        Yeah, I hope the company is

 21        successful and I'm working hard to make sure

 22        that the -- to make the company successful.

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  1        your plan to sell BBBY securities?

  2               A.        I understand that that's part of

  3        it, yeah.

  4               Q.        Okay.

  5               A.        That's one of the allegations.

  6               Q.        Have you -- I know we talked

  7        about the motion for certification and -- and

  8        you don't have to address that again.

  9                         Have you reviewed any of the

 10        other papers that your attorneys have filed

 11        in this case?

 12               A.        Do you have examples?

 13               Q.        Right.       Like so you know that

 14        when we filed a complaint, at that point I

 15        believe you were represented by

 16        Vinson & Elkins, right?               And, again, I'm not

 17        interested in any attorney-client

 18        communications.          But you know that they tried

 19        to have the case dismissed, right?

 20               A.        Yes.

 21               Q.        And they filed something called a

 22        Motion to Dismiss?

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                                                                              154
  1               A.        Yes.

  2               Q.        Did you read it?

  3               A.        Parts of it, yes.

  4               Q.        Okay.      It was filed with your

  5        authorization?

  6               A.        Yes.

  7               Q.        Okay.      They sent you the final

  8        version before it was filed?

  9               A.        Yes.

 10               Q.        And you said okay, go ahead

 11        and -- and file it?

 12               A.        I approved it.

 13               Q.        Is that the case with -- again,

 14        I'm not interested in any attorney-client

 15        communications.          I just want to know.           With

 16        respect to all the filings in this case, are

 17        you made aware of the filings that would

 18        be -- are you aware of what gets filed in

 19        this case?

 20                         MR. FARINA:          Objection, form.

 21               I don't know -- I don't know how he

 22               would be --

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                                                                              263
  1        fact that they were monitoring Reddit for

  2        you?

  3               A.        No.

  4               Q.        Okay.      Other than these E-mails,

  5        did you have any phone calls with Greg Marose

  6        where he called and said hey, I found this

  7        thing on Reddit.          I wanted you to know about

  8        it?

  9               A.        Not that I remember, no.              You I

 10        said he sent hundreds of news clippings from

 11        a variety of different sources.

 12               Q.        Okay.      Now, in the first sentence

 13        it refers to you as the meme king, correct,

 14        in the first box?

 15               A.        Yes.

 16               Q.        Okay.      Mr. Cohen, you've never

 17        done anything to disavow that label, right?

 18                         MR. FARINA:          Objection, form.

 19                         THE WITNESS:           What does that

 20               mean?

 21                         BY MR. JAFRI:

 22               Q.        I mean you've never gone and said

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                                                                              264
  1        publicly that I'm not the meme king?

  2                A.       I've never said I am the meme

  3        king.

  4                Q.       But you've never said that you're

  5        not, right?

  6                A.       I've been called a lot of

  7        different things.

  8                Q.       Mr. Cohen, it's a yes or no

  9        question.       You've never gone and publicly

 10        said I'm not the meme king?

 11                A.       I don't believe so.

 12                Q.       Okay.      And you've never gone

 13        publicly and said I'm not the meme lord?

 14                A.       No, I have not.

 15                Q.       You've never gone publicly and

 16        said don't call me Papa Cohen?

 17                A.       No, I don't believe so.

 18                Q.       You've never discouraged

 19        investors like these -- people who we just

 20        talked about, like this post, you never

 21        discouraged these investors from interpreting

 22        your statements like your tweets?

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                                                                              265
  1                         MR. FARINA:          Objection, form.

  2                         THE WITNESS:           I've never what?

  3                         BY MR. JAFRI:

  4               Q.        You've never discouraged them

  5        from trying to find meanings in your Twitter

  6        posts, correct?

  7               A.        I don't even know what that

  8        means.

  9               Q.        Well, what I mean by that is if

 10        they have -- if they read certain things that

 11        you post on Twitter, you've never gone and

 12        said hey, you know, I'm being misinterpreted,

 13        that's not what I meant?

 14               A.        No, actually, I don't think that

 15        that's true.

 16               Q.        You -- do you -- is it -- is it

 17        your testimony that you've done that on

 18        Twitter?

 19               A.        Well, I had an interview with Joe

 20        Fonicello on GMEdd, where he asked me about

 21        my tweets and I said these are just how I

 22        feel, they're random thoughts, and we went

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                                                                              266
  1        through each of them one by one.

  2               Q.        Yes.     I -- I remember that

  3        vividly and I --

  4               A.        Okay.

  5               Q.        -- know what's in it.

  6                         But I think that my question is a

  7        little different, which is, when it comes to

  8        those people who interpret your tweets, like

  9        the ones that you discussed with Joe

 10        Fonicello, right, like the people on Twitter

 11        who respond to your tweets, you've never

 12        tried to correct them in any way and say you

 13        are misunderstanding what I meant?

 14                         MR. FARINA:          Objection, form.

 15                         THE WITNESS:           My tweets are

 16               just me being me.            They're -- I don't

 17               know what tweets you're referring to.

 18               I don't know which comments you're

 19               talking about.          And you're -- again,

 20               you're talking about people as in

 21               they --

 22


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                                                                              267
  1                         BY MR. JAFRI:

  2               Q.        Um-hmm.

  3               A.        And you're speaking in

  4        generalities.

  5                         So if you have a specific

  6        question, I'll answer, but I don't understand

  7        these -- these generalities, it's impossible

  8        to answer the question.

  9               Q.        Well, I mean, anybody, really.

 10        Anybody.      It doesn't matter who.              And we'll

 11        get more specific on the other tweets.

 12                         But my question is very simple,

 13        which is, when you go and post things and

 14        people respond to your posts and say Ryan,

 15        yes, we get it, we know what you mean or --

 16        at -- at -- or if they have some message,

 17        you've never said hey, that's not what I

 18        meant publicly?

 19               A.        I've provided more context, like

 20        I said, in interviews, but I don't know in --

 21        specifically what you're referring to.

 22               Q.        I'm specifically referring to

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                                                                              268
  1        Twitter.

  2               A.        Yes.     And which comment on

  3        Twitter and which post did I make?

  4               Q.        Any comment.           Do you recall even

  5        one instance --

  6               A.        I rarely reply to my comments --

  7               Q.        Sure.      That's not my question,

  8        Mr. Cohen.

  9                         My question is, do you recall

 10        even one instance where you posted something

 11        and someone interpreted a meaning and you

 12        said that's not what I meant?

 13               A.        I don't remember.

 14               Q.        Okay.

 15                         MS. REPORTER:           Can we take a

 16               break?

 17                         MR. JAFRI:         Sure.

 18                         VIDEO OPERATOR:            Off the record

 19               at 2:01.

 20                         (Thereupon, a brief recess was

 21               taken.)

 22                         VIDEO OPERATOR:            Back on the

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                                                                              325
  1        specifically, unless you put one in front of

  2        me like this one.

  3               Q.        Can we focus on this final

  4        sentence here in the third paragraph, you

  5        know the one that started with, As a role

  6        model among apes?           We talked about that

  7        already.      You know in the final sentence

  8        here --

  9               A.        Yeah.

 10               Q.        -- when it says, Any news about

 11        the investor is often enough to generate

 12        positive sentiment among apes active on

 13        Reddit.

 14                         Do you see that?

 15               A.        Yes.

 16               Q.        Okay.      Now, have you seen other

 17        articles that have said that specific thing

 18        that we -- that I just read to you?

 19               A.        I don't remember.

 20               Q.        Okay.      But you may have?

 21               A.        No.     I mean I don't -- what I

 22        said is I don't remember.

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                                                                              326
  1               Q.        Okay.      Now, you've never gone

  2        ever publicly and said I am not a role model

  3        for the apes?

  4               A.        I don't believe so.

  5               Q.        Okay.      And you've never gone

  6        publicly and said --

  7               A.        I've never said I am a role model

  8        for the apes either.

  9               Q.        Please let me finish my question.

 10               A.        Okay.

 11               Q.        You've never gone and said that

 12        you are not influential among this community

 13        of retail investors?

 14               A.        I've never said that I was.

 15               Q.        That wasn't my question.

 16                         You've never said that you

 17        weren't, correct?

 18               A.        I don't believe so.

 19               Q.        Okay.      You have publicly said

 20        nothing, in fact, to assert ever that you do

 21        not influence stock prices?

 22               A.        I don't give out investment

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  1        advice.

  2                Q.       That's not my question.             Please,

  3        it's a yes or no question.                 You have never

  4        gone publicly and said I, Ryan Cohen, do not

  5        influence stock prices, correct?

  6                A.       I don't believe so.

  7                Q.       And you've never gone and said I,

  8        Ryan Cohen, don't generate positive sentiment

  9        among meme stock investors on Reddit?

 10                A.       I never said I do.

 11                Q.       But you've never said that you

 12        didn't, right?

 13                A.       I don't believe so.

 14                Q.       Okay.      You've never contested any

 15        of --

 16                A.       Just to be clear, I don't give

 17        out investment advice.              I don't tell people

 18        what to do with their money.                  My father

 19        always told me don't tell people what to do

 20        with their money.

 21                         So I think in one video

 22        appearance when I was asked what should

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  1        investors do with their money, I said the

  2        best thing to do is to invest in a low cost

  3        index fund that follows the S&P 500.                   And I

  4        was asked, well, you don't do that.                  You

  5        don't diversify.          You invest in specific

  6        companies.       I said well I'm entrepreneurial

  7        and that's what I'm comfortable with, but I

  8        don't recommend it to other people.                  That's

  9        just my strategy, like what I told you

 10        earlier in the deposition.

 11                         So I don't give people investment

 12        advice, so why would I go and say any of the

 13        things that you're suggesting if I'm not

 14        going and telling people what they should do

 15        with their money?

 16               Q.        Mr. Cohen, I -- my question

 17        wasn't whether you should provide investment

 18        advice --

 19               A.        Your question is putting words in

 20        my mouth.

 21               Q.        Please let me finish the

 22        question.       Please.       Please.

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                                                                              329
  1                         MR. FARINA:          Yeah, let him ask

  2               the question before you start to

  3               answer.

  4                         BY MR. JAFRI:

  5               Q.        You are giving me a justification

  6        for why you didn't do this.                 I understand.

  7        I'm not interested.            And I don't care.

  8                         My question is very, very simple.

  9                         You have never gone and said

 10        something like, you know, please stop saying

 11        that I generate positive sentiment among

 12        these so-called apes on Reddit?

 13                         You've never done that, right?

 14               A.        I answered your question.

 15               Q.        Which is a yes, that you've never

 16        done it?

 17               A.        I answered your question.

 18               Q.        What was the answer?             Is it a yes

 19        or a no?      It's a simple yes or a no --

 20               A.        You can go through the transcript

 21        and you'll see my answer.

 22               Q.        Well, I think you said yes to

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                                                                              330
  1        some of the things and I don't know why

  2        you're struggling so much with this one.

  3                         So when I -- when I -- when I

  4        told you have you ever said, for instance,

  5        that you do not have influence on stock

  6        prices, you said that you haven't.                  So this

  7        is a very similar question.                 It's just about

  8        a different topic, which is, have you ever

  9        said that you don't generate positive

 10        sentiment among the apes on Reddit publicly?

 11               A.        I don't know.

 12               Q.        You haven't, right?

 13               A.        No, I mean I don't know.

 14               Q.        You don't recall any instance?

 15        You can't tell me one example where you have

 16        publicly said it?

 17               A.        I don't know.

 18               Q.        Okay.

 19               A.        I don't remember every single

 20        thing that I've said.

 21               Q.        All right.         Let's move on to

 22        another exhibit.          You can keep that away.

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                                                                              371
  1        very, very risky transformation that the

  2        company, especially going into a macro time

  3        of a lot of uncertainty, especially given the

  4        balance sheet.

  5                         You -- you see all that?

  6               A.        Yes.

  7               Q.        So when you said that, I --

  8        you -- is it true that you said that the

  9        company did not have the balance sheet to

 10        transform the business?

 11               A.        I don't remember exactly.              These

 12        are not my notes.

 13               Q.        Okay.      But do you believe that

 14        the company did not have the balance sheet

 15        to -- to do a transformation?

 16               A.        I believe that the company was

 17        doing a lot worse than I expected and losing

 18        a lot of money.          I didn't have visibility,

 19        obviously, into the future trajectory, but

 20        based on what I saw in the previous quarter,

 21        the company was losing a lot of money.

 22               Q.        Okay.      Now, if we focus on the --

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                                                                              372
  1        the final section on this page here that

  2        again is attributed to you -- it says RC, do

  3        you see that, but operationalizing a plan?

  4                A.        Yes.

  5                Q.        You see that?

  6                          So it says, but operational --

  7        operationalizing a plan, SG&A at 33 percent

  8        isn't sustainable and GM contracting by

  9        400bps, so getting back to SG&A mid

 10        20 percent will involve pretty significant

 11        changes at the company.                Given the macro

 12        backdrop we're heading into, there are

 13        probably some big changes that have to be

 14        made to address business and to conserve

 15        cash.        Is that happening?           Have we scrapped

 16        the 2020 plan?

 17                          Is it true that you wanted the

 18        company to cut back on SG&A expenses and get

 19        it down to the mid 20 percent?

 20                A.        I wanted them to reduce expenses,

 21        yes.

 22                Q.        To mid 20 percent?

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                                                                              373
  1               A.        I mean, that sounds like a good

  2        target.

  3               Q.        Okay.      And that number happened

  4        while you were invested, correct?

  5               A.        I don't believe so.

  6               Q.        Okay.      And then over here, does

  7        this jog your memory, where it says, Have we

  8        scrapped the 2020 plan?

  9                         Do you remember that?

 10               A.        I don't remember specifically the

 11        2020 plan.       I think this was a 150-page God

 12        knows what that they paid McKinsey to do,

 13        talking about how they were going to have

 14        private label and all kinds of things.                    And I

 15        thought it was crazy, and I said that in the

 16        letter, that I thought it was crazy, to go to

 17        a bunch of consultants and spend God knows

 18        how much money to come up with a -- a

 19        beautiful PowerPoint deck that I did not

 20        believe was achievable.

 21               Q.        Okay.      But they never changed

 22        their behavior, right?              Like it's not like

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                                                                              374
  1        they scrapped this plan or didn't stop -- or

  2        stopped consulting with McKinsey or all of

  3        those things while you were investing?

  4               A.        I have no idea --

  5               Q.        You're not aware?

  6               A.        I don't know.           I -- no, I'm not

  7        aware.      I don't know what they did.

  8               Q.        Okay.      So when you were saying

  9        scrap this plan and your criticism right now

 10        of McKinsey, you never felt that there was a

 11        change in behavior --

 12               A.        It could have been BCG.

 13               Q.        Or BCG, right, sure, Consultants.

 14        I know that you -- you're critical of those.

 15                         But what I'm saying is, you never

 16        felt, ever while you were invested, that they

 17        did any of these things, correct?

 18               A.        The company was losing hundreds

 19        of millions of dollars.               I don't know what

 20        they did or they didn't do.                 They did a

 21        remarkable job driving the company off of a

 22        cliff.      They get an A plus for that.

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                                                                               375
  1               Q.        I understand, Mr. Cohen.              But my

  2        question is different.              My question if you

  3        had have certain ideas about what they

  4        would -- they should be doing, like, for

  5        instance, cutting costs down to --

  6                         MS. REPORTER:           Slow down,

  7               please.

  8                         BY MR. JAFRI:

  9               Q.        Like, for instance, cutting costs

 10        down to the 20 percent range, right?                   And

 11        they never did that to your knowledge?

 12                         MR. FARINA:          Objection, form,

 13               foundation.

 14                         THE WITNESS:           I don't know what

 15               they did or they didn't do.                They did

 16               not get their expenses in line.

 17                         You had their gross margin

 18               going down.        You had their expenses

 19               going up.       You had revenues going

 20               down.     That was very, very clear from

 21               the April results.

 22                         So these were -- again, I don't

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                                                                              376
  1               remember exactly what I said in this

  2               note.     These are not my notes.                These

  3               are notes from the company.                   But it's

  4               not healthy to go and lose hundreds of

  5               millions of dollars.              And they needed

  6               to improve the performance and they

  7               didn't.      They drove the company off of

  8               a cliff.

  9                         BY MR. JAFRI:

 10               Q.        So in other words, there was no

 11        improvement and you didn't feel like they had

 12        implemented any of your proposed solutions,

 13        correct?

 14               A.        I -- I don't know.

 15               Q.        You're not aware that they did?

 16               A.        I don't know.

 17               Q.        You're not aware that they did,

 18        is that --

 19               A.        I don't -- no, I don't know.

 20               Q.        Okay.      All right.            So you have no

 21        knowledge of them taking any steps to

 22        implement any of these ideas that you had,

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                                                                              404
  1                         MR. FARINA:          -- so not the

  2               second E-mail in the chain.

  3                         THE WITNESS:           From me to my

  4               lawyer?

  5                         BY MR. JAFRI:

  6               Q.        Yeah.      Yeah.       I'm talking about

  7        the --

  8               A.        Yeah.

  9               Q.        -- first one, the first page at

 10        2:42 p.m.

 11               A.        Um-hmm.

 12               Q.        You see that?

 13                         So you wrote, Given I'm going to

 14        be in the market buying, I'd like to cancel

 15        the call and ask her to speak next week.

 16        What is the best way to slow this down so

 17        that I'm not restricted from buying tomorrow

 18        and Friday.        He says to you that you should

 19        just say something has come up and you need

 20        to reschedule.

 21                         Did you consider buying BBBY

 22        shares on June 30th and July 1st of 2022?

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                                                                              405
  1               A.        I was thinking about it.

  2               Q.        And why was that?

  3               A.        Because I liked the price.

  4               Q.        But what was the reason why you

  5        wanted to buy shares at that point?

  6               A.        Because I liked the price.

  7               Q.        I understand.           But did you have

  8        some sort of goal in mind about how much you

  9        would buy?

 10               A.        No.

 11               Q.        And --

 12               A.        I believe, according to the

 13        cooperation agreement, I was -- I could only

 14        go up to 20 percent.

 15               Q.        And you considered going up to

 16        20 percent?

 17               A.        No.     I told you I didn't have

 18        a -- a goal, but that was the maximum that I

 19        could go up to, as per the cooperation

 20        agreement.

 21               Q.        Okay.      But why on this day did

 22        you decide that you may want to buy some

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                                                                                406
  1        shares following this conversation that you

  2        had about how terrible the results were?

  3               A.        Because I liked the price.

  4               Q.        Okay.      Was that the only reason?

  5               A.        Yes.

  6               Q.        Did you consider buying shares to

  7        try and get more influence at the company?

  8               A.        I had to like the price.               The

  9        most important thing was I liked the price.

 10               Q.        No.     No.     My -- my question is,

 11        was one of those the motivation?                    Somehow if

 12        you increased your stake, you would have,

 13        like, more influence?

 14               A.        The motivation was liking the

 15        price.

 16               Q.        Was that the only -- that was the

 17        only reason?

 18               A.        I -- I believe so.               I thought it

 19        was attractive.

 20               Q.        So why didn't you end up buying

 21        any shares?

 22               A.        I changed my mind.

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                                                                              407
  1               Q.        When?

  2               A.        I don't remember exactly when.

  3               Q.        And what was the reason for that?

  4               A.        I didn't -- I decided I wasn't

  5        going to go further into the investment.

  6               Q.        Okay.      Because of the fact that

  7        the results were terrible?

  8               A.        I don't remember exactly why I

  9        changed my mind.          But I changed my mind.            I

 10        thought about it.           I was considering it and I

 11        didn't do it.

 12               Q.        Because buying more shares was a

 13        bad idea?

 14               A.        Well, I -- I mean, I don't know.

 15        I changed my mind.

 16               Q.        Because it was not a good

 17        decision to buy more shares?

 18               A.        I changed my mind because I

 19        decided I did not -- not want to.                 And I

 20        don't remember why I changed my mind --

 21               Q.        Do you think it --

 22               A.        -- why I -- what -- how I came to

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                                                                              408
  1        that conclusion, I don't remember what I was

  2        thinking at the time that I decided.                   I was

  3        thinking about it and then I decided I wasn't

  4        going to do it.

  5               Q.        Do you remember when you decided

  6        that you weren't going to do it?

  7               A.        No.

  8               Q.        Was it in July 2022?

  9                         MR. FARINA:          Objection, form.

 10                         THE WITNESS:           You just asked me

 11               if I remember when, I told you no and

 12               then you asked me the dates.

 13                         BY MR. JAFRI:

 14               Q.        Yeah.      I'm trying to be more

 15        specific because you were trying to buy some

 16        shares at the end of June and early July,

 17        right, in the --

 18               A.        If I would -- if I -- I knew the

 19        date, I would have said it to you, so --

 20               Q.        Okay.

 21               A.        -- I answered your question.

 22               Q.        I'm just trying to understand the

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                                                                                 409
  1        timeline.       I'm just wondering when, you know,

  2        you had this -- you had this desire at this

  3        point to buy shares, whether you recall that

  4        you changed your mind about it, you know,

  5        within a few days of sending Ryan Nebel these

  6        E-mails.

  7               A.        I don't remember when I changed

  8        my mind.

  9               Q.        Okay.      All right.            You can put

 10        that away.

 11                         Did you have any communications

 12        with Sue Gove in July of 2022?

 13               A.        We spoke at a certain point, but

 14        I don't remember when.

 15               Q.        Was that conversation on Zoom?

 16               A.        I believe so.

 17               Q.        Did you -- did you question her

 18        about whether there was a bankruptcy risk?

 19               A.        I don't believe so.

 20               Q.        Okay.      All right.            So we will

 21        show you one document.              So this is -- this

 22        was previously marked as Exhibit 188.

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                                                                              435
  1                         MR. FARINA:          Objection, form,

  2               foundation.

  3                         THE WITNESS:           I don't remember

  4               the article specifically going and

  5               saying a -- a target price of the

  6               company.

  7                         BY MR. JAFRI:

  8               Q.        But it was a negative --

  9               A.        I remember it was a negative

 10        article.

 11               Q.        Okay.      And you retweeted it with

 12        this message, At least her cart is full,

 13        right?

 14               A.        The article had a picture of --

 15        it was a negative article and it had a

 16        picture of a woman whose shopping cart was

 17        filled.      So I made a sarcastic remark, saying

 18        At least her cart is filled to a negative

 19        article because I thought it was funny that

 20        they picked a picture showing someone that

 21        looked like they had a pretty nice, fun

 22        shopping spree.          So I made a sarcastic

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                                                                              436
  1        comment saying at least her cart is filled.

  2

  3

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                                                                              437
  1                         EVENING SESSION                  5:00 p.m. EDT

  2                         BY MR. JAFRI:

  3               Q.        Right.       I -- I have a couple of

  4        questions about this.

  5                         Now, earlier on you and I had

  6        talked about the motion to dismiss that you

  7        filed earlier on, you know, in -- with

  8        respect to this case to try and get it

  9        dismissed.

 10               A.        That my lawyers filed?

 11               Q.        Yeah.

 12               A.        Yes.

 13               Q.        And you told me that you read it,

 14        right?

 15               A.        Parts of it I told you.

 16               Q.        Yeah.      And you told me that it

 17        was authorized by you before it was filed?

 18               A.        Yes.

 19               Q.        Okay.      Now, you are aware that in

 20        that motion they said that you had soured on

 21        your investment long before you sent this

 22        tweet, correct?

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                                                                              438
  1                         MR. FARINA:          Objection, form,

  2                foundation.

  3                         THE WITNESS:           No, I don't

  4                remember that.

  5                         BY MR. JAFRI:

  6                Q.       Okay.

  7                A.       I don't remember what my lawyer

  8        said.

  9                Q.       All right.         So -- but -- but you

 10        authorized -- you authorized that filing,

 11        right?

 12                A.       I don't remember what my lawyer

 13        said.

 14                Q.       That -- my question is different.

 15                         It was signed on your behalf by

 16        your attorneys and filed --

 17                A.       Okay.

 18                Q.       -- with your permission, right?

 19                A.       Okay.

 20                Q.       It was?

 21                A.       I don't remember exactly.              I'm

 22        assuming I signed off on that.

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                                                                              439
  1               Q.        Okay.      Well, I mean, it's a fact

  2        about you, so they couldn't have made it up,

  3        right?

  4                         MR. FARINA:          Objection, form.

  5                         THE WITNESS:           I answered your

  6               question.

  7                         BY MR. JAFRI:

  8               Q.        I have a different question.

  9               A.        Okay.

 10               Q.        You have no reason to doubt that

 11        there's anything false in that filing?

 12               A.        I -- I don't have the filing in

 13        front of me and you're not asking me

 14        something specifically.               So I have no way to

 15        answer this question.

 16               Q.        So it's a possibility that things

 17        that are filed in court on your behalf

 18        contain false information?

 19               A.        I rely on my lawyers to file

 20        forms correctly.

 21               Q.        But you -- you're not 100 percent

 22        sure whether there's anything false in these

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                                                                              440
  1        filings?

  2               A.        I rely on my lawyers to file

  3        accurate forms.          I can't say whether

  4        something is 100 percent.                Nothing is

  5        100 percent --

  6               Q.        Okay.

  7               A.        -- besides death and taxes.

  8               Q.        So do you -- do you agree that

  9        you had already lost interest in BBBY before

 10        you sent this tweet?

 11               A.        No.

 12               Q.        So what they said is false in

 13        that filing?

 14               A.        I don't know in what context they

 15        said it and --

 16               Q.        Well --

 17               A.        -- I don't have it in front of

 18        me.

 19               Q.        Let me rephrase.

 20               A.        And I did not -- when you say

 21        lose interest, what does that mean exactly,

 22        to lose interest?

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                                                                               441
  1               Q.        Okay.      I'll be more specific.

  2                         Did you sour on your investment

  3        in BBBY securities before you sent this

  4        tweet?

  5               A.        The company had done a lot worse

  6        than I expected.          I -- I already shared that

  7        on multiple occasions.

  8               Q.        Sure.      So does that mean yes?

  9        Does that mean you did sour on --

 10               A.        I don't know what it means to

 11        sour on something.

 12               Q.        You had lost interest in your

 13        investment by the time you tweeted this?

 14               A.        It depends on the price.               Like I

 15        told you, I'm a value investor.                    If something

 16        is a certain price, I'm interested.                    If

 17        something is at a certain price and it's 2X

 18        that, then I'm not interested.                    It depends on

 19        the price.

 20               Q.        Now, are you familiar --

 21               A.        Did I sour on the investment?                  I

 22        thought that the company was doing worse than

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                                                                              442
  1        I expected.        I was surprised that they were

  2        losing as much money as they did.

  3               Q.        Mr. Cohen, sitting over here, you

  4        have no reason to believe that your attorneys

  5        filed anything in this case that is false,

  6        correct?

  7                         MR. FARINA:          Objection, form.

  8                         THE WITNESS:           You asked me this

  9               already.

 10                         BY MR. JAFRI:

 11               Q.        No --

 12                         MR. FARINA:          Why don't you just

 13               ask him directly whether he soured on

 14               his investment.

 15                         MR. JAFRI:         I did.

 16                         MR. FARINA:          Okay.

 17                         MR. JAFRI:         I did.        And he

 18               responded.

 19                         MR. FARINA:          Okay.       Then --

 20               then you should move on.

 21                         MR. JAFRI:         No, I -- it's -- I

 22               have a different question.

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                                                                              443
  1                         BY MR. JAFRI:

  2               Q.        My question is, Mr. Cohen, you

  3        don't have any reason sitting over here to

  4        believe that any of your attorneys --

  5               A.        You asked --

  6               Q.        -- have filed anything that is

  7        factually inaccurate, right?

  8                         MR. FARINA:          Why don't you show

  9               him -- show him what you --

 10                         THE WITNESS:           You asked me --

 11                         MR. FARINA:          Hang on.    Hang on.

 12               Hang on.

 13                         Why don't you show him what

 14               you're referring to and ask him

 15               whether he agrees with it.

 16                         MR. JAFRI:         No.     I think we've

 17               already moved on from that point.

 18                         MR. FARINA:          Well, then, we'll

 19               move on.

 20                         BY MR. JAFRI:

 21               Q.        Mr. Cohen, do you want me to

 22        repeat the question?

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                                                                                444
  1                         MR. FARINA:          No, no, no.        If

  2               you want to ask his opinion, you now

  3               have him under oath giving his

  4               testimony.        If you want to show him

  5               something and ask him whether he

  6               agrees with it, he will tell you

  7               whether or not he agrees with it and

  8               then you'll have his testimony.

  9                         MR. JAFRI:         Okay.         Thank you

 10               for the advice.

 11                         BY MR. JAFRI:

 12               Q.        Going back to my question,

 13        sitting over here, you do not believe that

 14        there was any filing in this case that

 15        contained any factual errors, right?

 16                         MR. FARINA:          Objection, form.

 17                         THE WITNESS:           I rely on my

 18               lawyers to prepare my filings.

 19                         BY MR. JAFRI:

 20               Q.        Yes.     And you trust them to say

 21        things that are correct, correct?

 22               A.        Do I trust them to say things

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                                                                                    445
  1        that are -- that's a big statement.                     I trust

  2        that they do the best job that they can to

  3        prepare my filings, period.

  4               Q.        Mr. Cohen --

  5               A.        You keep on going back to did I

  6        sour on my investment.              I don't know what

  7        that means, to sour on something.

  8                         What -- the company was doing

  9        worse than I thought.              They had two quarters

 10        already losing lots of money.                     They were

 11        doing worse than I thought.                 So if that

 12        would -- if that's what they meant when they

 13        said I soured on the investment, yeah.                        I

 14        wasn't happy that the company was losing so

 15        much money.

 16               Q.        Okay.      Now we're getting

 17        somewhere.

 18               A.        Okay.

 19               Q.        All right.         Now, the next thing

 20        that I want to discuss with you is are you

 21        aware of the fact that factual

 22        representations on your behalf were made in

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                                                                              446
  1        the motion to dismiss about this tweet

  2        stating that you were expressing pessimism

  3        about this -- the company in this tweet?

  4                         MR. FARINA:          Objection, form,

  5               foundation.

  6                         If you're -- look, if you're

  7               going to ask him about the motion,

  8               then show him the motion and ask him

  9               whether he agrees with it.

 10                         VIDEO OPERATOR:            You can't move

 11               around your mic, sir.

 12                         MR. FARINA:          We're going to

 13               take a break.          I would suggest you get

 14               the document if you want to ask him

 15               about it.

 16                         MR. JAFRI:         All right.      Let's

 17               take a ten-minute break.

 18                         VIDEO OPERATOR:            Okay.   Off the

 19               record at 5:06.

 20                         (Thereupon, a brief recess was

 21               taken.)

 22                         VIDEO OPERATOR:            Back on the

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                                                                               447
  1                record at 5:17.

  2                         BY MR. JAFRI:

  3                Q.       Ready?

  4                A.       Yes.

  5                Q.       Okay.      So before we left, we were

  6        talking about your August 12th tweet.                   I'm

  7        just going to directly, you know, pose this

  8        question to you.

  9                         Were you expressing pessimism in

 10        this tweet about the company and its

 11        prospects?

 12                A.       No.

 13                Q.       But when you suggested to me that

 14        you were being sarcastic about the -- the

 15        woman with the shopping cart, what did you

 16        mean?

 17                A.       I mean that the article was

 18        negative and the picture of the shopping cart

 19        was filled.        So I made a sarcastic comment

 20        that said at least her cart is full.                   And

 21        then I chose a face that, in my mind,

 22        indicated -- it was complementary to the

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                                                                              448
  1        sentence that I said, which was being

  2        sarcastic.

  3                Q.        Okay.      But other than the fact

  4        that you were being sarcastic, were you

  5        expressing agreement with what was in the

  6        CNBC article?

  7                A.        No.     I said at least her cart is

  8        full.        It was a sarcastic comment in response

  9        to a negative article, making fun of the fact

 10        that the article was negative and the picture

 11        was a woman who had her cart filled to the

 12        top.

 13                Q.        So you didn't agree with the

 14        article?

 15                A.        I did not say that.

 16                Q.        Well, I mean --

 17                A.        I didn't give an opinion on the

 18        article.        I gave an opinion on the actual

 19        picture.

 20                Q.        So your testimony is that you had

 21        no opinion whatsoever on the CNBC article?

 22                A.        Correct.

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                                                                              449
  1               Q.        Okay.      You have never publicly

  2        stated ever that you were being sarcastic in

  3        this tweet, correct?

  4               A.        I've not been -- I have not

  5        commented publicly on the litigation.

  6               Q.        That's not my question.             I'm

  7        talking about this specific tweet.

  8                         You have never publicly said that

  9        you were being sarcastic in this tweet,

 10        correct?

 11               A.        The tweet was sarcastic.

 12               Q.        Mr. Cohen, you have never

 13        publicly said that you were being sarcastic

 14        when you sent this tweet, correct?

 15               A.        I don't know what I said.              I -- I

 16        don't know what I -- you asked me if I've

 17        never said something.              I don't know.

 18               Q.        You never tweeted in response to

 19        this tweet or at any other time that you were

 20        being sarcastic when you sent out this

 21        tweet --

 22               A.        I don't -- I don't know.

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                                                                              450
  1               Q.        You have no idea whether you

  2        tweeted something in response explaining this

  3        tweet?

  4               A.        No, you asked me if I've ever

  5        publicly said before that I was being

  6        sarcastic.       And I said I don't know.

  7               Q.        Yeah.      And then I had a different

  8        question.

  9               A.        Okay.

 10               Q.        My different question is, you

 11        have never tweeted any other explanation

 12        about this tweet saying that you were being

 13        sarcastic, correct?

 14               A.        I don't believe so.

 15               Q.        Okay.      You never went on Reddit

 16        and said I was being sarcastic when I sent

 17        this tweet, correct?

 18               A.        I've never posted on Reddit

 19        before.

 20               Q.        I understand.           So you obviously

 21        didn't go on there and say hey, guys, I was

 22        being sarcastic, right?

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                                                                              451
  1               A.        Correct.

  2               Q.        Okay.      You've never told anybody

  3        in any of the interviews you've given with

  4        respect to any articles that have been

  5        published about you anywhere, really --

  6        there's never been a comment from you saying

  7        that you were being sarcastic when you sent

  8        this tweet, correct?

  9               A.        I don't believe so.

 10               Q.        Okay.      All right.            I wanted to

 11        move on to a couple of other things and then

 12        we can get out of here.

 13                         So I wanted to show you another

 14        exhibit which you produced.                 So this is a --

 15        an exhibit you produced, Mr. Cohen.                     We're

 16        going to mark it as 295.

 17                                  (Thereupon, Exhibit 295 was

 18                      marked for identification.)

 19                         THE WITNESS:           Thank you.

 20                         BY MR. JAFRI:

 21               Q.        This is a long chain.                Again, I

 22        just have a couple of questions.                     You know,

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                                                                              453
  1               A.        I don't remember.

  2               Q.        What about Diandra Weaver?

  3               A.        It would have been around the

  4        same time as this E-mail.

  5               Q.        Okay.      Who else knew at Olshan or

  6        JPMorganChase that you were planning to sell

  7        your shares?

  8               A.        I don't know.

  9               Q.        John Moon?

 10               A.        I don't know.

 11                         MR. JAFRI:         Moon, M-O-O-N.

 12                         BY MR. JAFRI:

 13               Q.        On August 15th you did not tell

 14        Mr. Nebel that you were going to sell all

 15        your shares, correct?

 16               A.        I don't believe so.

 17               Q.        Is that I don't believe so?

 18                         MR. FARINA:          That's what he

 19               said.

 20                         THE WITNESS:           I don't know -- I

 21               didn't know whether I was going to

 22               sell all my shares.

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                                                                              454
  1                         BY MR. JAFRI:

  2               Q.        My question was different.               My

  3        question is, on August 15th you did not tell

  4        Mr. Nebel that you were going to sell all

  5        your shares, correct?

  6               A.        On August 15th -- what -- what's

  7        in here is what I said.

  8               Q.        Okay.      I'll rephrase it in

  9        another way.

 10                         On August 15th you did not tell

 11        Mr. Nebel that you were selling at all,

 12        correct?

 13               A.        I was not selling.

 14               Q.        Well, when -- when it says over

 15        here at the bottom of the chain -- well,

 16        actually over here, if you go to the page

 17        where it begins -- or ends with 70?

 18               A.        Which page?

 19               Q.        This is 8070.           So it's like the

 20        third page from the back.

 21               A.        Yeah.

 22               Q.        This is an E-mail from you to

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                                                                              455
  1        Nebel, cc'ing another person --

  2                A.       Yeah.

  3                Q.       And you wanted to know how long

  4        will this take.          Am I prevented from trading

  5        in the meantime.          Can this be done today.

  6                         So you told him that you were

  7        trading, but you didn't tell him that you

  8        were selling, right?

  9                A.       I was not trading.

 10                Q.       So then why were you telling him

 11        that you -- why were you -- why were you

 12        questioning him about whether you could --

 13        whether you were prevented from trading?

 14                A.       Because my bank told me that I

 15        was prevented from trading.                 I told them what

 16        the bank said.

 17                Q.       Okay.      And why did you contact

 18        the bank?

 19                A.       Because I was interested in

 20        the -- being able to trade.

 21                Q.       Okay.      Being able to trade and do

 22        what?

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                                                                              456
  1                A.       That, being able to trade.

  2                Q.       Sell?

  3                A.       Depends on the price.

  4                Q.       So you were thinking of buying

  5        shares on this day?

  6                A.       Depended on what the price would

  7        have been.

  8                Q.       Did you think of buying shares on

  9        this day at all?

 10                A.       It depends on what the price

 11        would have been.

 12                Q.       That's not my question.

 13                         On this day, did you think of

 14        buying shares?

 15                A.       It depends on what the price

 16        would have been.          I'm always thinking about

 17        investing.

 18                Q.       Mr. Cohen, my question is very

 19        specific.

 20                         Did you have a thought in your

 21        head on this day that you may buy shares of

 22        BBBY?

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                                                                              457
  1               A.        It -- yes.         It depended on the

  2        price.      I may have bought depending on the

  3        price.      I may have sold.            The stock on that

  4        day, I believe, was going up, so it -- it --

  5        I didn't buy.

  6               Q.        Okay.      But my question has

  7        nothing to do with your response.                 My

  8        question is whether you at any point thought

  9        of buying shares on August 15th with respect

 10        to BBBY securities.

 11               A.        I don't remember what I was

 12        thinking on that day.

 13               Q.        Okay.      So since -- so based on

 14        your testimony, then, you obviously didn't

 15        tell Nebel on this day that you were selling

 16        any shares, correct?

 17               A.        I was not selling shares on that

 18        day.

 19               Q.        So you only told him that you

 20        were trading?

 21               A.        I told him what's in the E-mail.

 22               Q.        That you were contemplating

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                                                                              458
  1        trading?

  2               A.        He was in communication with the

  3        bank that I was contemplating trading and I

  4        wanted the option to be able to trade.

  5               Q.        Was that also true on

  6        August 16th?

  7               A.        Was what also true?

  8               Q.        That you were just -- you just

  9        told Nebel that you were trading.

 10                         MR. FARINA:          Objection, form.

 11                         BY MR. JAFRI:

 12               Q.        Go ahead, Mr. Cohen.

 13               A.        I don't understand your question.

 14               Q.        On August 16th did you tell

 15        Mr. Nebel that you were only trading shares

 16        as opposed to specifically buying or selling?

 17               A.        I don't remember exactly what I

 18        told him.

 19               Q.        Did you tell Mr. Nebel on

 20        August 16th that you were selling shares?

 21               A.        I don't remember exactly what I

 22        told them.

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                                                                              459
  1               Q.        So you have no recollection

  2        whatsoever of what you told Mr. Nebel on

  3        August 16th?

  4               A.        That I wanted the ability to

  5        trade.

  6               Q.        So it was only about ability to

  7        trade, not I'm trading, correct?

  8               A.        I was -- I was prevented from

  9        trading.

 10               Q.        I'm talking about August 16th

 11        now.

 12               A.        I believe on August 16th at a

 13        certain point I was also -- and he was

 14        counseling me and he was giving -- he was

 15        working with the bank so that I was -- had

 16        the ability to be able to trade.

 17               Q.        Okay.      Can we look at another

 18        E-mail over here.           So if you go to the page

 19        that ends with 68, this is the E-mail at the

 20        bottom of the chain, Mr. Cohen, from you on

 21        August 15th, 6:09 p.m.

 22               A.        Yeah.

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                                                                              460
  1               Q.        So you wrote, Thank you.              Ryan,

  2        has JPM reached out to you.                 Can you talk to

  3        them today.        I need to get this resolved

  4        tonight so I can trade tomorrow.

  5                         You see that?

  6               A.        Yeah.

  7               Q.        Why were you in such a rush?

  8               A.        Because I wanted the option to be

  9        able to trade.

 10               Q.        I know, but, I mean, why on this

 11        day did you really want this to be wrapped

 12        up?    I mean, you're sending this E-mail to

 13        somebody at 6:09 p.m.              That's -- that's --

 14        that was beyond business hours, right?

 15               A.        I don't -- my business hours are

 16        24 hours a day.

 17               Q.        That's fine, Mr. Cohen.             But

 18        everybody does not work like that.

 19                         You sent this E-mail to your

 20        attorneys at 6:09 p.m., right?

 21               A.        Yes.

 22               Q.        And you told them that you wanted

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                                                                              461
  1        to have this done before the night ended,

  2        correct?

  3                A.        Yes.

  4                Q.        Okay.      So what was the reason for

  5        that?        Explain to me why you wanted it to be

  6        done that night.

  7                A.        Because I wanted the ability to

  8        be able to trade.

  9                Q.        Why?     Why at that time?

 10                A.        I don't understand your question

 11        why.

 12                Q.        Well, I mean, if I wanted to

 13        trade, for instance, and I told somebody I

 14        want you to wrap this up tonight because I

 15        really want to trade --

 16                A.        Yeah.

 17                Q.        -- the next day, I probably have

 18        some motive or some reason why I want to do

 19        it so quickly.

 20                          Are you telling me that you're

 21        not like that?

 22                A.        I'm telling you I wanted the

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                                                                              462
  1        ability to trade.

  2               Q.        I understand that.               I can read

  3        the E-mail.        My question is, why did you want

  4        to trade in this hurried fashion?

  5               A.        Wasn't -- it -- I was being

  6        prevented from trading.               I wanted it to be

  7        resolved so that I could trade.

  8               Q.        Okay.      So when you sent this

  9        E-mail at 6:09 p.m. on August 15th, what did

 10        you want to do?          Did you want to buy or did

 11        you want to sell?

 12               A.        When I sent which E-mail?

 13               Q.        The one that I just talked about,

 14        6:09 p.m. August 15th.

 15               A.        I wanted to be able to trade.

 16               Q.        Buy or sell?

 17               A.        I wanted to be able to be in the

 18        market to trade.          I was prevented from

 19        trading.

 20               Q.        Mr. -- Mr. Cohen, my question is,

 21        did you want to buy or did you want to sell?

 22        Please address the question.

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                                                                              463
  1               A.        It depended on the price.

  2               Q.        So you -- you -- you -- you --

  3               A.        It always depends on the price.

  4               Q.        Okay.      And -- and you are telling

  5        me that when the price skyrocketed on this

  6        day, you were thinking of buying shares?

  7               A.        It depends on the price.              It was

  8        very volatile, so the stock was going up.

  9        The stock was going down.

 10               Q.        What price --

 11               A.        It depends on the price.

 12               Q.        Okay.      What the price point would

 13        you have sold your shares at?

 14               A.        I sold my shares.

 15               Q.        Right.       I -- what I want to know

 16        is what was the ideal price point for you to

 17        sell your shares?

 18               A.        I don't know that I had an ideal

 19        price point to sell my shares.

 20               Q.        Okay.      What about -- what about

 21        buying shares?         What -- was there a price

 22        where you would have been, like, this is too

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                                                                              464
  1        expensive?

  2                A.        Yeah, but I didn't have a -- a

  3        set number in my mind.

  4                Q.        Okay.      I just want to be clear

  5        about one thing.

  6                          Your testimony is that even

  7        though the price of the BBBY securities was

  8        skyrocketing on these days --

  9                A.        Yeah.

 10                Q.        -- you were still contemplating

 11        at 6:09 p.m. on August 15th purchasing

 12        shares?

 13                A.        The price can change.            The price

 14        could have gone down -- the same way the

 15        price went up, the price could have gone down

 16        also.        So I -- I wanted the option to trade.

 17                Q.        Okay.      So you thought that the

 18        price could go down --

 19                A.        Anything can happen.

 20                Q.        -- the next trading day on

 21        August 16th?

 22                          MR. FARINA:          Can you guys --

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                                                                                465
  1                one at a time, please.

  2                          THE WITNESS:           Anything can

  3                happen.

  4                          BY MR. JAFRI:

  5                Q.        Okay.      So your testimony --

  6                A.        If the price skyrocketed, it

  7        could have also go down.                 It could go up.        It

  8        could go down.          I don't know.

  9                Q.        Right.       So your testimony is that

 10        as of the end of the trading day on

 11        August 15th, you were contemplating that the

 12        price could collapse on the 16th?

 13                A.        No, I did not say that.                You said

 14        that.

 15                Q.        Okay.      You were contemplating --

 16                A.        I said anything can happen.

 17                Q.        Okay.

 18                A.        Stocks can go up.                Stocks can go

 19        down.

 20                Q.        But you thought --

 21                A.        I wanted the option to trade.

 22                Q.        Okay.      Mr. Cohen, you were

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                                                                              466
  1        considering at least the possibility that the

  2        stock would decrease on the 16th?

  3                A.       No, I'm saying I don't know what

  4        a stock is going to do tomorrow.

  5                         Do you?       Does anyone?

  6                Q.       Okay.      I think I have what I

  7        need.

  8                         Is it true, Mr. Cohen, that you

  9        called JPMorganChase many times on the 15th

 10        and 16th to try and get this issue resolved?

 11                A.       I tried to get the issue

 12        resolved, yeah.

 13                Q.       Okay.

 14                A.       They called me.            I called them.

 15        And they were -- and they were working with

 16        Olshan to get it resolved also.

 17                Q.       How many times did you call

 18        JPMorganChase on the 15th and the 16th?

 19                A.       I don't remember.

 20                Q.       Were you calling them -- do you

 21        remember if it was more than ten times?

 22                A.       I don't remember.

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                                                                              474
  1               A.        Yes.

  2               Q.        Okay.      How did you come across

  3        this article?

  4               A.        You asked me that already.

  5               Q.        You don't remember?

  6               A.        I don't remember.

  7               Q.        You did nothing publicly on that

  8        day to say that you, in fact, had not bought

  9        any additional BBBY securities, correct?

 10               A.        I didn't say that I did.

 11               Q.        My question is, you did -- you

 12        said nothing publicly to correct the record

 13        that day and say that you did not buy any

 14        additional BBBY securities, correct?

 15               A.        I never said that I did buy more.

 16               Q.        But you never said that you

 17        didn't, correct?

 18               A.        I believe that I discussed the

 19        issue with my advisors and I asked them to

 20        clear it up.

 21               Q.        But publicly there was no comment

 22        from you on -- at any point in August of 2022

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                                                                               475
  1        saying that you didn't buy any additional

  2        shares?

  3               A.        I followed the advice of my

  4        lawyers.

  5               Q.        You didn't tweet out --

  6               A.        I never said that I did.

  7               Q.        I understand.           You didn't tweet

  8        and say I'm being misinterpreted, I did not

  9        buy any shares?

 10               A.        I wasn't being misinterpreted.                 I

 11        never said that I bought more shares.                   This

 12        was incorrectly reported.

 13               Q.        Okay.      But you never said on

 14        Twitter it has been incorrectly reported,

 15        correct?

 16               A.        I followed the advice of my

 17        lawyers.

 18               Q.        Okay.      I'm going to show you

 19        another exhibit.

 20                         MR. JAFRI:         So we're going to

 21               mark this as 296.

 22


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                                                                              493
  1        thought it was going to do.

  2               Q.        Mr. Cohen --

  3               A.        That's my statement.

  4               Q.        Did you underestimate --

  5               A.        These are not my words.

  6               Q.        Did you --

  7               A.        These are his.

  8               Q.        Okay.      Well, I -- my -- now I

  9        want to know your views.

 10                         Did you underestimate the amount

 11        of damage that was done?

 12               A.        The company lost more money than

 13        I thought it was going to lose.

 14               Q.        Did you underestimate the

 15        amount --

 16               A.        The company did worse than I

 17        thought it would.

 18               Q.        Okay.      I understand.

 19               A.        Okay.

 20               Q.        My question is --

 21               A.        So that's my statement.

 22               Q.        My question is, did you

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                                                                              494
  1        underestimate the amount of damage that was

  2        done, yes or no?

  3               A.        I'm -- I think he did a

  4        remarkable job screwing up the company,

  5        exceptional, A plus.

  6               Q.        Who are you talking about?

  7               A.        The company.

  8               Q.        Okay.

  9               A.        Mark Tritton.

 10               Q.        Okay.      But once -- that had

 11        already happened before you sold your shares,

 12        right?

 13               A.        No.

 14                         MR. FARINA:          Objection, form.

 15                         THE WITNESS:           I -- I don't

 16               know.     I --

 17                         What?

 18                         MR. FARINA:          I said objection,

 19               form.

 20                         THE WITNESS:           Yeah.     I -- I

 21               have no idea what had happened.                 We

 22               know now.

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                                                                              495
  1                         BY MR. JAFRI:

  2               Q.        Okay.      But he left --

  3               A.        He drove the company off of a

  4        cliff.      He gets an A plus for driving the

  5        company off of a cliff.

  6               Q.        And he left at the end of June --

  7               A.        Yeah.

  8               Q.        -- of 2022?

  9                         So by that point he had already

 10        driven the company off the cliff?

 11               A.        No, I didn't say that.

 12               Q.        Well --

 13               A.        Wasn't -- it -- it was not just

 14        him, by the way.          I mean, they -- he left and

 15        the company did not get better.

 16               Q.        Mr. Cohen, I'm going to read back

 17        your testimony to you.

 18                         You said he drove the company off

 19        a cliff.      He gets an A plus for driving the

 20        company off a cliff.

 21               A.        Well, him -- him and everyone

 22        else that was involved.

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                                                                              496
  1               Q.        Okay.

  2               A.        Him and the management team, the

  3        board.      Everyone is responsible.

  4               Q.        I understand.           Mr. Cohen --

  5               A.        He was the leader, but everyone

  6        else is responsible for it.

  7               Q.        Mr. Cohen, that was something

  8        that you said later.             I'm talking about the

  9        specific --

 10               A.        Well, I'm just clarifying the

 11        statement now.

 12               Q.        Okay.      Well --

 13               A.        Him and everyone else at the

 14        company.

 15               Q.        Okay.      And he left on June 29th

 16        2022, right?

 17               A.        I believe so.

 18               Q.        Okay.      So if he was the one also

 19        driving the company off the cliff, he could

 20        have only done it before June 29, 2022,

 21        right?

 22               A.        I did not say that.              You're

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                                                                              497
  1        saying that.        And then you're trying to get

  2        me to agree with you and I'm not.

  3               Q.        How could -- how could he

  4        logically drive the company off the cliff at

  5        a time when he's not even there?

  6               A.        Exactly.        That's why I said it

  7        was him and everyone else.

  8               Q.        Okay.      But if he's -- if he also

  9        has driven the company off the cliff, he can

 10        only do that while he's at the company,

 11        right?

 12               A.        It was a group effort.

 13               Q.        I'm just talking about his --

 14        his -- his -- his --

 15               A.        I -- I don't -- I -- I don't

 16        understand.

 17               Q.        I'm just talking about his

 18        contribution, Mr. Cohen.

 19               A.        I already gave you my statements.

 20               Q.        I -- I think -- so when you said

 21        that everyone drove the company off the

 22        cliff, who are you talking about?                 Who is

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                                                                               498
  1        everyone?

  2                A.       I don't know.

  3                Q.       Well, you must have some idea.                 I

  4        mean, you said everyone.

  5                A.       I wasn't -- I was not on the

  6        inside.      The company -- the people who are in

  7        charge of the company, the management team,

  8        the board of directors, it was ...

  9                Q.       Yeah, go ahead.            You -- you said

 10        it was --

 11                A.       That's it.         I don't know.

 12                Q.       Okay.      But you think there's --

 13        there's a lot of people to blame?

 14                A.       Yes.

 15                Q.       Okay.      Mr. Cohen, between

 16        June 29th of 2022 and August 18th of 2022,

 17        did the company release any public

 18        information about its financial results?

 19                A.       Between when and when?

 20                Q.       I just told you the date range.

 21        Between June 28th 2022 and August 18th of

 22        2022.

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